Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 1 of 19 PageID #: 1



                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND


  LUCIA URIZAR-MOTA;                     :
  SERGIO REYES; Individually and p.p.a.  :
  DELMY REYES;                           .:
  SERGIO REYES; WILMER REYES             :
  and GERSON REYES, minors               :
        Plaintiffs,                      :
                                         :
       v.                                :                        C.A. No.
                                         :
  UNITED STATES OF AMERICA;              :
  JOHN and/or JANE DOE, M.D., Alias; and :
  JOHN DOE CORPORATION, Alias,           :
       Defendants.                       :
                                        COMPLAINT

                                            PARTIES

            1.   Lucia Urizar-Mota is a citizen and resident of Providence, State of Rhode

  Island.

            2.   Sergio Reyes is a citizen and resident of Providence, State of Rhode Island.

            3.   Lucia Urizar-Mota is the wife of Sergio Reyes.

            4.   Delmy Reyes, Sergio Reyes, Wilmer Reyes, and Gerson Reyes are residents of

  the City of Providence, State of Rhode Island. They are the minor children of Mrs. Urizar-

  Mota and Sergio Reyes.

            5.   Defendant United States of America is the party being sued on behalf of

  Providence Community Health Center, a federally qualified health care center.

            6.   Defendants John and/or Jane Doe, M.D., Alias, are citizens and residents of

  the State of Rhode Island. The true names of defendants are unknown to plaintiffs who

  consequently sue such defendants by said fictitious names. Plaintiffs will seek leave to amend

  their Complaint to state the true names of defendants John and Jane Doe, M.D., Alias, when

  such have been ascertained.


                                                1
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 2 of 19 PageID #: 2



         7.      Defendant John Doe Corporation, Alias, upon information and belief is a

  corporation existing under the laws of the State of Rhode Island with a principal place of

  business herein. The true name of the defendant Corporation is unknown to plaintiffs who

  consequently sue such defendant by said fictitious name. Plaintiffs will seek leave to amend

  their Complaint to state the true name of defendant John Doe Corporation, Alias when such

  has been ascertained.

                                   VENUE AND JURISDICTION

         8.      This Court has jurisdiction over this action as it is a civil claim against the

  United States for damages under the Federal Tort Claims Act, 28 U.S.C. §§ 2671-2680, and

  jurisdiction over such claims is conferred on this Court by 28 U.S.C. § 1346.

         9.      Venue is proper under 28 U.S.C. § 1402(b) in that all, or a substantial part of

  the acts and omissions forming the basis of these claims occurred in the District of Rhode

  Island. Additionally, plaintiff resides in Rhode Island and brings this complaint in the United

  States District Court where they reside.

         10.     The above action is proper as the plaintiff properly presented the claims that

  are the subject of this lawsuit to the administrative agency as required by 28 U.S.C. §§ 2401(b)

  and 2675 by mail on September 23, 2020. More than six months have passed since the date of

  presentment without final disposition of the claim, and this action is therefore proper. 28

  U.S.C. § 2675(a).

                                              FACTS

         11.     On November 14, 2012, plaintiff Lucia Urizar-Mota presented to the

  Providence Community Health Center to obtain treatment for her medical needs, including

  but not limited to complaints of a headache.




                                                 2
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 3 of 19 PageID #: 3



         12.     Mrs. Urizar-Mota continued to visit the Providence Community Health

  Center many times between 2012 and 2019, during which she consistently complained of a

  severe headache, among other symptoms.

         13.     On June 19, 2019, Mrs. Urizar-Mota was attempting to seek medical treatment

  at the Providence Community Health Center when she passed out in the car on the center’s

  premises.    Emergency Medical Services transported her to the Rhode Island Hospital

  Emergency Department, where she presented with a severe headache and vomiting, and was

  admitted.

         14.     That same day, on June 19, 2019, a CT scan of her brain was ordered and

  performed. The CT scan of her brain read, in part, “markedly dilated lateral and third

  ventricles. Diffuse effacement of sulci and skull base cisterns. Blood is present within the

  dilated third ventricle, the aqueduct, and the fourth ventricle which is also dilated, possibly

  due to a clot or mass.”

         15.     On June 24, 2019, Mrs. Urizar-Mota was taken to the operating room for a

  brain tumor resection. The subsequent pathology revealed juvenile pilocytic astrocytoma. A

  post-operative MRI revealed a cerebellar stroke.

         16.     Mrs. Urizar-Mota’s medical record does not reflect that the Providence

  Community Health Center ever ordered or performed imaging of Mrs. Urizar-Mota’s brain.

  Due to defendant’s negligence, Mrs. Urizar-Mota was not diagnosed with juvenile pilocytic

  astrocytoma until June of 2019.

         17.     On October 18, 2019, Mrs. Urizar-Mota underwent an MRI. The results

  showed no evidence of tumor recurrence, but did show permanent injury to the brain and

  degeneration of the connections between the injured area in the cerebellum and the

  connection of the brainstem.


                                                3
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 4 of 19 PageID #: 4




          18.      Mrs. Urizar-Mota continues to have headaches, and also experiences twitching

  and trembling in her left extremities, trouble with her balance, and vision issues. She is no

  longer able to manage her household and her activities of daily living.

                                           COUNT I
                                         NEGLIGENCE
                                   UNITED STATES OF AMERICA

          1.       Plaintiffs hereby incorporate Paragraphs 1 through 18 as if fully set forth at

  length herein.

          2.       On or about November 2012 and thereafter, Providence Community Health

  Center., a federally funded health care center, by and through its agents, actors and

  employees, undertook for valuable consideration to diagnose, treat, and care for Lucia Urizar-

  Mota.

          3.       It then and there became and was the duty of defendant United States of

  America, by and through its agents, actors and employees, to exercise ordinary care in the

  diagnosis, treatment and care of Ms. Urizar-Mota.

          4.       Nevertheless, defendant disregarded its duty as aforesaid and failed to exercise

  said degree of diligence and skill in that it failed to properly diagnose and failed to render

  adequate, proper, and necessary treatment to Lucia Urizar-Mota and was otherwise negligent

  in its diagnosis, treatment, and care of her.

          5.       As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

  Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

  system, has endured and will in the future endure extreme mental pain and suffering and

  emotional distress, has been and will in the future be unable to perform her usual activities,

  and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

  otherwise permanently damaged.


                                                  4
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 5 of 19 PageID #: 5



          6.       By reason of the foregoing, plaintiff has incurred expenses for medical and

  nursing treatment, medicines, hospitalization, therapy, and the like.

          7.       By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

  continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

  Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

  will continue to be deprived of parental society and companionship of their mother Lucia

  Urizar-Mota.

          8.       As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

  suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

  Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

  astrocytoma in June of 2019.

          WHEREFORE, plaintiffs demand judgment against defendant United States of

  America in an amount sufficient to establish the jurisdiction of this Court plus interest and

  costs and whatever further relief this Honorable Court deems appropriate.

                                             COUNT II
                                    LACK OF INFORMED CONSENT
                                    UNITED STATES OF AMERICA

          1.       Paragraphs 1 through 18 and Count I are hereby incorporated by reference as

  if set forth fully at length herein.

          2.       It then and there became the duty of defendant United States of America, no

  emergency existing, to inform Lucia Urizar-Mota of the risks of harm attendant to the

  treatment and care it proposed to administer to and perform upon her so that she could give

  her informed consent to such treatment. It also then and there became the duty of defendant

  to obtain her informed consent before proceeding with said treatment and care.


                                                  5
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 6 of 19 PageID #: 6



          3.      Nevertheless, defendant disregarded its duty as aforesaid and failed to inform

  Lucia Urizar-Mota of the risks of harm attendant to the treatment and care in question and

  proceeded to perform said treatment and care without having obtained her informed consent.

          4.      If defendant had informed Lucia Urizar-Mota of the risks of harm attendant

  to the treatment and care in question, including, but not limited to, the risk of her suffering

  those injuries from which she suffered as a direct result of defendant’s performance of the

  treatment and care in question, she would have refused to consent to the performance of said

  treatment and care.

          5.      As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

  Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

  system, has endured and will in the future endure extreme mental pain and suffering and

  emotional distress, has been and will in the future be unable to perform her usual activities,

  and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

  otherwise permanently damaged.

          6.      By reason of the foregoing, plaintiff has incurred expenses for medical and

  nursing treatment, medicines, hospitalization, therapy, and the like.

          7.      By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

  continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

  Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

  will continue to be deprived of parental society and companionship of their mother Lucia

  Urizar-Mota.

          8.      As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

  suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-


                                                  6
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 7 of 19 PageID #: 7



  Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

  astrocytoma in June of 2019.

          WHEREFORE, plaintiffs demand judgment against defendant United States of

  America in an amount sufficient to establish the jurisdiction of this Court plus interest and

  costs and whatever further relief this Honorable Court deems appropriate.

                                           COUNT III
                                      CORPORATE LIABILITY
                                    UNITED STATES OF AMERICA

          1.      Paragraphs 1 through 18 and Counts I and II are hereby incorporated by

  reference as if set forth fully at length herein.

          2.      It then and there became and was the duty of defendant United States of

  America to provide quality medical care to Lucia Urizar-Mota, to protect her safety, to

  protect her from incompetent and/or negligent treatment, to ensure that those providing care

  and treatment within its walls were properly credentialed, and to otherwise exercise

  reasonable care for her protection and well-being

          3.      Nevertheless, defendant negligently disregarded its duty as aforesaid and/or

  failed to promulgate and enforce policies and procedures to ensure the delivery of ordinary

  medical care, and/or otherwise failed to discharge its responsibilities as a medical provider to

  Lucia Urizar-Mota.

          4.      As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

  Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

  system, has endured and will in the future endure extreme mental pain and suffering and

  emotional distress, has been and will in the future be unable to perform her usual activities,

  and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

  otherwise permanently damaged.


                                                      7
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 8 of 19 PageID #: 8



          5.      By reason of the foregoing, plaintiff has incurred expenses for medical and

  nursing treatment, medicines, hospitalization, therapy, and the like.

          6.      By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

  continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

  Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

  will continue to be deprived of parental society and companionship of their mother Lucia

  Urizar-Mota.

          7.      As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

  suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

  Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

  astrocytoma in June of 2019.

          WHEREFORE, plaintiffs demand judgment against defendant United States of

  America in an amount sufficient to establish the jurisdiction of this Court plus interest and

  costs and whatever further relief this Honorable Court deems appropriate.

                                           COUNT IV
                                       VICARIOUS LIABILITY
                                    UNITED STATES OF AMERICA

          1.      Paragraphs 1 through 18 and Counts I through III are hereby incorporated by

   reference as if fully set forth at length herein.

          2.      Providence Community Health Center health care providers in Rhode Island

  who treated the Lucia Urizar-Mota, were employees, agents, apparent agents and/or servants

  of the Providence Community Health Center and were acting within the scope of their

  employment at all times relevant hereto.




                                                       8
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 9 of 19 PageID #: 9



          3.      Defendant was at all relevant times vicariously responsible for the acts of its

  agents and servants, including, but not limited to, the acts of Providence Community Health

  Center health care providers as set forth above.

          4.      As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

  Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

  system, has endured and will in the future endure extreme mental pain and suffering and

  emotional distress, has been and will in the future be unable to perform her usual activities,

  and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

  otherwise permanently damaged.

          5.      By reason of the foregoing, plaintiff has incurred expenses for medical and

  nursing treatment, medicines, hospitalization, therapy, and the like.

          6.      By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

  continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

  Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

  will continue to be deprived of parental society and companionship of their mother Lucia

  Urizar-Mota.

          7.      As a direct and proximate result of defendant’s negligence, carelessness and

  recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

  suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

  Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

  astrocytoma in June of 2019.

           WHEREFORE, plaintiffs demand judgment against defendant United States of

  America in an amount sufficient to establish the jurisdiction of this Court plus interest and

  costs and whatever further relief this Honorable Court deems appropriate.


                                                  9
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 10 of 19 PageID #: 10



                                         COUNT V
                                       NEGLIGENCE
                              JOHN AND/OR JANE DOE, M.D., ALIAS

           1.       Plaintiff hereby incorporates Paragraphs 1 through 18 as if fully set forth at

   length herein.

           2.       On or about November 2012, defendant John and/or Jane Doe, M.D., Alias

   undertook for valuable consideration to diagnose, treat, and care for Lucia Urizar-Mota.

           3.       It then and there became and was the duty of the defendant to exercise that

   degree of diligence and skill required of the average physician engaged in the practice of

   medicine.

           4.       Nevertheless, defendant disregarded his/her duty as aforesaid and failed to

   exercise said degree of diligence and skill in that he/she failed to properly diagnose and failed

   to render adequate, proper, and necessary treatment to Lucia Urizar-Mota and was otherwise

   negligent in his/her diagnosis, treatment, and care of her.

           5.       As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

   Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

   system, has endured and will in the future endure extreme mental pain and suffering and

   emotional distress, has been and will in the future be unable to perform her usual activities,

   and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

   otherwise permanently damaged.

           6.       By reason of the foregoing, plaintiff has incurred expenses for medical and

   nursing treatment, medicines, hospitalization, therapy, and the like.

           7.       By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

   continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

   Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and


                                                  10
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 11 of 19 PageID #: 11



   will continue to be deprived of parental society and companionship of their mother Lucia

   Urizar-Mota.

           8.       As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

   suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

   Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

   astrocytoma in June of 2019.

           WHEREFORE, plaintiffs demand judgment against defendant John and/or Jane

   Doe, M.D., Alias in an amount sufficient to establish the jurisdiction of this Court plus

   interest and costs and whatever further relief this Honorable Court deems appropriate.

                                            COUNT VI
                                   LACK OF INFORMED CONSENT
                                JOHN AND/OR JANE DOE, M.D., ALIAS

           1.       Paragraphs 1 through 18 and Count V are hereby incorporated by reference as

   if set forth fully at length herein.

           2.       It then and there became the duty of defendant John and/or Jane Doe, M.D.,

   Alias, no emergency existing, to inform Lucia Urizar-Mota of the risks of harm attendant to

   the treatment and care he/she proposed to administer to and perform upon her so that she

   could give her informed consent to such treatment. It also then and there became the duty of

   defendant to obtain Lucia Urizar-Mota’ informed consent before proceeding with said

   treatment and care.

           3.       Nevertheless, defendant disregarded his/her duty as aforesaid and failed to

   inform Lucia Urizar-Mota of the risks of harm attendant to the treatment and care in

   question and proceeded to perform said treatment and care without having obtained her

   informed consent.


                                                 11
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 12 of 19 PageID #: 12



           4.      If defendant had informed Lucia Urizar-Mota of the risks of harm attendant

   to the treatment and care in question including, but not limited to, the risk of her suffering

   those injuries from which she suffered as a direct result of defendant’s performance of the

   treatment and care in question, she would have refused to consent to the performance of said

   treatment and care.

           5.      As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

   Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

   system, has endured and will in the future endure extreme mental pain and suffering and

   emotional distress, has been and will in the future be unable to perform her usual activities,

   and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

   otherwise permanently damaged.

           6.      By reason of the foregoing, plaintiff has incurred expenses for medical and

   nursing treatment, medicines, hospitalization, therapy, and the like.

           7.      By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

   continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

   Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

   will continue to be deprived of parental society and companionship of their mother Lucia

   Urizar-Mota.

           8.      As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

   suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

   Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

   astrocytoma in June of 2019.




                                                  12
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 13 of 19 PageID #: 13



           WHEREFORE, plaintiffs demand judgment against defendant John and/or Jane

   Doe, M.D., Alias in an amount sufficient to establish the jurisdiction of this Court plus

   interest and costs and whatever further relief this Honorable Court deems appropriate.

                                         COUNT VII
                                        NEGLIGENCE
                                 JOHN DOE CORPORATION, ALIAS

           1.       Plaintiff hereby incorporates Paragraphs 1 through 18 as if fully set forth at

   length herein.

           2.       On or about November 2012, John Doe Corporation, Alias, by and through

   its agents, actors and employees, undertook for valuable consideration to diagnose, treat, and

   care for Lucia Urizar-Mota.

           3.       It then and there became and was the duty of the defendant, by and through

   its agents, actors and employees, to exercise ordinary care in the diagnosis, treatment and care

   of Ms. Urizar-Mota.

           4.       Nevertheless, defendant disregarded its duty as aforesaid and failed to exercise

   said degree of diligence and skill in that it failed to properly diagnose and failed to render

   adequate, proper, and necessary treatment to Lucia Urizar-Mota and was otherwise negligent

   in its diagnosis, treatment, and care of her.

           5.       As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

   Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

   system, has endured and will in the future endure extreme mental pain and suffering and

   emotional distress, has been and will in the future be unable to perform her usual activities,

   and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

   otherwise permanently damaged.




                                                   13
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 14 of 19 PageID #: 14



           6.       By reason of the foregoing, plaintiff has incurred expenses for medical and

   nursing treatment, medicines, hospitalization, therapy, and the like.

           7.       By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

   continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

   Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

   will continue to be deprived of parental society and companionship of their mother Lucia

   Urizar-Mota.

           8.       As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

   suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

   Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

   astrocytoma in June of 2019.

           WHEREFORE, plaintiffs demand judgment against defendant John Doe

   Corporation, Alias in an amount sufficient to establish the jurisdiction of this Court plus

   interest and costs and whatever further relief this Honorable Court deems appropriate.

                                            COUNT VIII
                                    LACK OF INFORMED CONSENT
                                   JOHN DOE CORPORATION, ALIAS

           1.       Paragraphs 1 through 18 and Count VII are hereby incorporated by reference

   as if set forth fully at length herein.

           2.       It then and there became the duty of defendant John Doe Corporation, Alias,

   no emergency existing, to inform Lucia Urizar-Mota of the risks of harm attendant to the

   treatment and care it proposed to administer to and perform upon her so that she could give

   her informed consent to such treatment. It also then and there became the duty of defendant




                                                  14
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 15 of 19 PageID #: 15



   to obtain Lucia Urizar-Mota’ informed consent before proceeding with said treatment and

   care.

           3.      Nevertheless, defendant disregarded its duty as aforesaid and failed to inform

   Lucia Urizar-Mota of the risks of harm attendant to the treatment and care in question and

   proceeded to perform said treatment and care without having obtained her informed consent.

           4.      If defendant had informed Lucia Urizar-Mota Plaintiff of the risks of harm

   attendant to the treatment and care in question including, but not limited to, the risk of her

   suffering those injuries from which she suffered as a direct result of defendant’s performance

   of the treatment and care in question, she would have refused to consent to the performance

   of said treatment and care.

           5.      As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

   Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

   system, has endured and will in the future endure extreme mental pain and suffering and

   emotional distress, has been and will in the future be unable to perform her usual activities,

   and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

   otherwise permanently damaged.

           6.      By reason of the foregoing, plaintiff has incurred expenses for medical and

   nursing treatment, medicines, hospitalization, therapy, and the like.

           7.      By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

   continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

   Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

   will continue to be deprived of parental society and companionship of their mother Lucia

   Urizar-Mota.




                                                  15
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 16 of 19 PageID #: 16



           8.      As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

   suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

   Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

   astrocytoma in June of 2019.

           WHEREFORE, plaintiffs demand judgment against defendant John Doe

   Corporation, Alias in an amount sufficient to establish the jurisdiction of this Court plus

   interest and costs and whatever further relief this Honorable Court deems appropriate.

                                           COUNT IX
                                      CORPORATE LIABILITY
                                  JOHN DOE CORPORATION, ALIAS

           1.      Paragraphs 1 through 18 and Counts VII and VIII are hereby incorporated by

   reference as if set forth fully at length herein.

           2.      It then and there became and was the duty of defendant John Doe

   Corporation, Alias to provide quality medical care to the Lucia Urizar-Mota, to protect her

   safety, to protect her from incompetent and/or negligent treatment, to ensure that those

   providing care and treatment within its walls were properly credentialed, and to otherwise

   exercise reasonable care for her protection and well-being.

           3.      Nevertheless, defendant negligently disregarded its duty as aforesaid and/or

   failed to promulgate and enforce policies and procedures to ensure the delivery of ordinary

   medical care, and/or otherwise failed to discharge its responsibilities as a medical provider to

   Lucia Urizar-Mota.

           4.      As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

   Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

   system, has endured and will in the future endure extreme mental pain and suffering and


                                                       16
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 17 of 19 PageID #: 17



   emotional distress, has been and will in the future be unable to perform her usual activities,

   and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

   otherwise permanently damaged.

           5.      By reason of the foregoing, plaintiff has incurred expenses for medical and

   nursing treatment, medicines, hospitalization, therapy, and the like.

           6.      By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

   continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

   Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

   will continue to be deprived of parental society and companionship of their mother Lucia

   Urizar-Mota.

           7.      As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

   suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

   Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

   astrocytoma in June of 2019.

           WHEREFORE, plaintiffs demand judgment against defendant John Doe

   Corporation, Alias in an amount sufficient to establish the jurisdiction of this Court plus

   interest and costs and whatever further relief this Honorable Court deems appropriate.

                                           COUNT X
                                      VICARIOUS LIABILITY
                                  JOHN DOE CORPORATION, ALIAS

           1.      Paragraphs 1 through 18 and Counts VII through IX are hereby incorporated

   by reference as if fully set forth at length herein.




                                                    17
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 18 of 19 PageID #: 18



           2.      John and/or Jane Doe, M.D., Alias was an employee, agent, apparent agent

   and/or servant of the defendant and was acting within the scope of his employment at all

   times relevant hereto.

           3.      Defendant was at all relevant times vicariously responsible for the acts of its

   agents and servants, including, but not limited to, the acts of John and/or Jane Doe, M.D.,

   Alias as set forth above.

           4.      As a direct and proximate result of the defendant’s negligence, Lucia Urizar-

   Mota suffered severe and permanent injuries to her mind and body, nerves and nervous

   system, has endured and will in the future endure extreme mental pain and suffering and

   emotional distress, has been and will in the future be unable to perform her usual activities,

   and will suffer loss of enjoyment of life, all of which injuries are permanent, and has been

   otherwise permanently damaged.

           5.      By reason of the foregoing, plaintiff has incurred expenses for medical and

   nursing treatment, medicines, hospitalization, therapy, and the like.

           6.      By reason of the foregoing, plaintiff, Sergio Reyes has suffered and will

   continue to suffer the loss of services, companionship, society and comfort of his wife Lucia

   Urizar-Mota and Delmy Reyes, Sergio Reyes, Wilmer Reyes and Gerson Reyes, have been and

   will continue to be deprived of parental society and companionship of their mother Lucia

   Urizar-Mota.

           7.      As a direct and proximate result of defendant’s negligence, carelessness and

   recklessness as aforesaid, Lucia Urizar-Mota suffered severe personal injuries, pain and

   suffering. The injuries are such that in the exercise of reasonable diligence by Ms. Urizar-

   Mota, they were not discoverable until she was diagnosed with a juvenile pilocytic

   astrocytoma in June of 2019.


                                                  18
Case 1:21-cv-00155-JJM-PAS Document 1 Filed 04/07/21 Page 19 of 19 PageID #: 19



          WHEREFORE, plaintiffs demand judgment against defendant John Doe

   Corporation, Alias in an amount sufficient to establish the jurisdiction of this Court plus

   interest and costs and whatever further relief this Honorable Court deems appropriate.

                        PLAINTIFFS PRAY FOR TRIAL BY JURY
                       ON NON-FTCA CLAIMS AND DESIGNATES
                        AMATO DELUCA AS TRIAL ATTORNEY

                                                 Plaintiffs,
                                                 By their attorneys,



                                                 /s/ Amato A. DeLuca
                                                 Amato A. DeLuca (#0531)
                                                 Katelyn M. Revens (#9078)
                                                 DeLUCA & ASSOCIATES, LTD
                                                 199 North Main Street
                                                 Providence, RI 02903
                                                 (401) 453-1500
                                                 (401) 453-1501 Fax
                                                 bud@delucaandassociates.com

   Dated: April 7, 2021




                                                19
